Case l:lQ-cv-OllSG-API\/| Document 13 Filed 04/29/19 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DONALD .I. TRUMP; THE TRUMP
ORGAN|ZATION, INC.; TRUMP
ORGANIZATION LLC; THE TRUMP
CORPORATION; DJT HOLDINGS LLC;
THE DONALD .l. 'I`RUMP REVOCABLE
TRUST; and TRUMP OLD POST OFF|CE
LLC,

Plaz`nt[ffs,
v.

E,LlJAH E. CUMMINGS, in his official
capacity as Chairman ofthe House Committee
on Oversigh`t and Reform; PETER KENNY, in
his official capacity as Chief investigative
Counsel ofthe House Committee on Oversight
and Reform; and MAZARS USA LLP,

Defendants,
COMMITTEE ON OVERSIGHT AND
REFORM OF THE U.S. HOUSE OF
REPRESENTATIVES,

Intervenor-
Defendant.

 

 

Case No. l:l9-cv-0| l36-APM

‘|'P'RG¥GS'E'B‘|~ORDER GRAN'I`ING MOTION OF THE COMMITTEE ON
OVERSIGHT AND REFORM OF THE U.S. HOUSE OF REPRESENTATIVES

It is SO ORDERED that the motion ofthe proposed intervenor-defendant, Committee on

Oversight and Ref`orm of the U.S. l-louse of Representatives (Committee) is GRANTED.

IT lS _FURTHER ORDERED

THAT the intervenor-defendant Committee shall comply with the deadlines set forth in

this Court’s April 23, 2019 minute order setting a briefing schedule

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Dared: 29 \§

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